EXHIBIT l

Student Declarations

Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 2 of 61

     
  

DECLARATI `

 

l ereby declare and affirm the l`ollowing:

l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. l am a current student at "f‘;] K §ll‘_l]§i[f §C,l in i’:`,(f\f ili§lr'€|d
_CMD_`L¢L (School, city, state)

3. lam enmiiedinche |\.l_r(l\`{(ll O@i'(€ §i|SP(|`OLllS.?L
program

4. Upon graduation, l will receive a d i`plC[’Y\GL

 

5. l expect to complete my program in "i § t) lé__
'ZQS\ Cl

 

 

6. To pay for my education, I have utilized Federal student aid programs.
including ii imm et .;;\i iii d , g wl ll il (~i! ibt ll
7. l @§f'have not (Cirele one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

diehl ref/ll Pri (T‘l

n-ln]\,\¢.lw l

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Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 3 of 61

8. lf given thc choice, I would choose 10 Complete my degree at
'@@Mgdl eollege, as opposed to stopping my ednootlon end reoeivlog o
discharge ot‘lny student loons.

9. lo addition l would like odd the following

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jdlli_b;?l/?d . rmi ring df")¢ll»§lm H/;t-)/t ollie |\lcll:_%{

10. l\'o one nos promised or oftet-ed me anything in exchange for providing

this statement, I give it freer and voluntarily

[Reminder of page intentionally left blank]

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Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 4 of 61

I declare under penalty of perjury that the foregoing is true and correet.

l)ated:(_)ctobel’ 129 ,2018

 

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Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 5 of 61

DECLARATION OF

 
 

hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein
gol\€s€

2. l am a current student at §]['g§|gj;h`!ggj' in Efgt)lfl’t"gi[}:[ ,
_l£ l .,(School city,state)

3. l em enrolled in the W\Q,cl‘\ act l H§t§tank
program

4. Upon graduation, I will receive a /\t\<;i\ (’c\ l

Ptf\<l gile jr o\~l? lorv\c)\

5. I expect to complete my program in l §/UYC, if l

feels

6. To pay for my education, l have utilized F ederal student aid programs,
lnolndiog l cof\ "5

7. l havefl'lave not (Cil'cle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 6 of 61

8. If given the choice, 1 would choose to complete my degree at
(Q;[ §§ L»_)".)°d=§ College, as opposed to stopping my education and receiving a
discharge of my student loans.
9. ln addition, I would like add the following:
j gail lj deal lyl`ll€. ’l`m good/ij ct
ctog)n/ attention l/lclre .

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lO. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 7 of 61

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

 

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Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 8 of 61

DECLARATION 0

 
 

, hereby declare and affirm the following:
l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. 1 have personal knowledge of the matters

set forth herein.

2. I am a current student at§ d£§§(§§gl§!§§!l kim

Tt_:§§g@ . (School, oity, state)
3. lent enrolled in the il_`\l\l?c\`\( tl\ \l\¢.r>`l‘oirtrr‘r

program

4. Upon graduation, I will receive a ©\Q\Q ‘(Y\C\

 

5. l expect to complete my program in §mj[ §§ Qlj]Q

 

 

6. To pay for my education, l have utilized Federa| student aid programs,
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7. Ihavcfhave not (Circlc one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cV-00388-TES Document 28-1 Filed 11/14/18 Page 9 of 61

S. If given the choice, l would choose to complete my degree at

’\_)I_\QD§,QQ[IJ_ Co]lege, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, l would like add the following:

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this statement, l give lt freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 10 of 61

I declare under penalty ol` perjury that the foregoing is true and correct.

Dated: November Q\§ , 2018

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 11 of 61

fir . -
DECLARATION OF

  

I, hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. I am a current student at lirr§vh,@d fdch in B¢*'f$-#""¢ _,

/%fg/ZMJ .r (School, city, state)
3. lam enrolled in the £Z-r/r-`¢w ZE¢M,'¢.»'¢¢~\

program.
4. Upon graduation, I will receive a [m/-'f- `r¢ fe
OF (`c) MP/c/rz>.d

5. I expect to complete my program in 3 'l?' 2~'>!

 

6. To pay for my education, l have utilized F ederal student aid programs,

including f,(.r. m

7. Ihav-Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 12 of 61

8. If given the choice, I would choose to complete my degree at
B'i` h“ wooo/ College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, I would like add the following:
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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 13 of 61

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November g "’ ,2013

 

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DECLARAT-ION OF
I,‘ hereby declare and affirm the following:

1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein .'
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2. I am a current student at Bl'l@\\k_wool in §§:H'S"'i=i§£~ ,
m ill . (School, city, state)

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3. Iamemonedm the i. E levin c_¢~\ team

program.
4. Upon graduation, I will receive a UPM rt_ju.l u-i‘r`Uh‘

i c->Ll Lg-t"i~w_é‘,§,‘m\ €Qi.,`¥,`CCLL..,oJ-Q;- ittlA\CCicM
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5. l expect to complete my program in M__

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6. To pay for my education, I have utilized Federal student aid programs,

inducing "¢Oju~;; ice w__~) Mtai»iov~ (;t` `-Sia>

7. Ihav@ve not Circle one that applies) received student aid in excess

 

 

of tuition and fees to offset my living expenses, including:
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¢,_nuJ-g%ué-w+ ri.»J_

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 15 of 61

8. If given the choice, I would choose to complete my degree at
@Hj\ L}UU¢J\]- College, as opposed to stopping my education and receiving a
discharge of my student loans.
9. In addition, I would like add the following:
m `TL)_ fmi-w l l~:`ti hole m3 own lau.‘r.?;,ga m wo¢lq‘..g
ai ea a aaa ab wausau towing Q-~é '/'> late
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l CC“/‘ P“~) 1413 §luci~ewl- (O#'*`~#

 

10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 16 of 61

l declare under penalty of perjury that the foregoing is true and correct

t)ated: November [‘* , 201 s

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[NAME]

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 17 of 61

DECLARATION OF
I,-_, hereby declare and affirm the following:

l.l I am over twenty-one (21) years of age and otherwise competent to

  

testify as to the matters set forth'herein. I have personal knowledge of the matters

set forth herein.

. _ owes
2. l am a current student at _m%m)_mg!__ in hmhg;@g ,

flaua£agj_. (School, city, state)
3. lam enrolled in the §§ gc§;,‘ cal l,,g,;lmm' ¢.‘gm

program

4. Upon graduation, I will receive a (;€d' hey cal-g Q¢f
_CQrvAy-O_l` i;{vti\Am-\ _ .

5. I expect to complete my program in .-&Mg` L

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6. To pay for my educati on, l have utilized Federal student aid programs,

including PQ§? @13 k Q;{: PQC[._:£}; k .
7. I have.Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 18 of 61

8. If given the choice, I would choose to complete my degree at

ngi_ College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 19 of 61

I declare under penalty of perjury that the foregoing is true and correct.

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Dated: November l , 2018

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 20 of 61

_ DECLARATION OF
I, - hereby declare and affirm the following:

1. I am over twenty-one (21] years of age and otherwise competent to

 

testify as to the matters set forth herein. I have personal knowledge of the matters
set forth herein.

2. l am a current student nw in (&{g! 1445 ,

g Q . (Schoel, city, state)
3. lam enrolled in the éi'[eo??rco»/ *_!’:=thlcmn

program
4. Upon graduation, l will receive a §§E¢#g'ca¢¢; %

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5. I expect to complete my program in

 

 

6. To pay for my education, I have utilized Federal student aid programs,

including FA FJ`A

7. I have.Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 21 of 61

8. If given the choice, I would choose to complete my degree at

M College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, l would like add the following:

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 22 of 61

l declare under penalty of perjury that the foregoing is true and correct.

Dated: November of , 2018

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 23 of 61

 
  

hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth hcrein.

- . 'c.’,
2. I am a current student at EB|§'_J‘§-_| lldij”?yin Bdifvl'il €- ,
152.12 . (School, city, state)
3. Iam enrolledinthe g{g`¢'j. m`g` O¢' 73 cf ug f a m /7| Y_t;_§¥m l g

program

4. Upon graduation, I will receive a § g §f{f;"g@ §
if Camf/'/e fired _ .
5. I expect to complete my program in 247 [ 2

 

6. To pay for my education, l have utilized F ederal student aid programs,

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including ’l_"` iii F § iii
7. I have/.(Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 24 of 61

8. If given the choice, l would choose to complete my degree at

HMQM__ College, as opposed to stopping my education and receiving a

discharge of my student Ioans.

9. In addition, I would like add the following:

 

 

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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarilyl

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 25 of 61

I declare under penalty of perjury that the foregoing is true and correct.

Dated:November f ,2018

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 26 of 61

DECLARATION OF

    

ereby declare and affirm the following:
]. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at BIDQ‘DML in ‘i fl fa§[§ li§;,
l 33 2 .(School, city,state)

3. l am enrolled in the Mf°f`li l-C@t z "m.s(~?>`i_.?t./K

program

4. Upon graduation, l will receive a dc {Z§z]\fg k

all melton ams-wi

5. I expect to complete my program in il hth i_( rif
211 is

6. To pay for my education, I have utilized F ederal student aid programs,
including 30ng Y..s§l’\_ 1 193
7. I hav‘ircle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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04 62909 B. l

Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 27 of 61

8. If given the choice, I would choose to complete my degree at

@quMiCollege, as opposed to stopping my education and receiving a

discharge of my student loans.

9 In addition, l would like add the following:

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10. No one as promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 28 of 61

l declare under penalty of perjury that the foregoing is true and correct

Dated: November g , 2018

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 29 of 61

 

DECLARATION OF
I, __. hereby declare and affirm the following:
l. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters sct forth herein. l have personal knowledge of the matters

set forth herein.

2. I am a current student at \l\`\'qm\°\ CG\\¢%¢L in Btvnni@h am ,
o \J

 

A\o\bnmv\ . (School, city, state)
3. lam enrolled in the Cosm¢'l‘l`> log \ll
program

4. Upon graduation, l will receive a Dlplomot

 

5. I expect to complete my program in Sgptcrvibcr

"?_Ol°\

 

6. 'I`o pay for my education, l have utilized Federal student aid programs,
including O\ 'Pctl (`:vrc‘m+ Ow\c>\ S+\»\Clenl-s \.Domg
7. Illaye/have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 30 of 61

8. If given the choice, I would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my
student loans.

9. In addition, l would like add the following:

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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 31 of 61

I declare under penalty of perjury that the foregoing is true and correet.

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.__._._..

 

Dated:Oetc-)be¥ l ,2018
[NAME]

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 32 of 61

DECLAR.ATIO OF

I, hereby declare and affirm the following:

 

l. l am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein. '

2. I am a current student at §h [%]n§o\§g|g¢in i_?>*|nc\M ,

MQM (School, city, state)
3. I am enrolled in the job U(HFM l’ § .

program
4. Upon graduation, l will receive a (§E§?\Qm§}_\'
in Q\/\arcn\ rt,O/\-
5. l expect to complete my program in MM_CY
CO\O}

6. To pay for my education, l have utilized Federal student aid programs,

including …l; tone

7. Ihave@€ircle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 33 of 61

8. If given the choice, l would choose to complete my degree at Virginia
College, as opposed to stopping my education and receiving a discharge of my

student loans.

9. In addition, l would like add the following:

 

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Si>vw~¥ io§ +l\wr ~_<.. have xe@\\\\lt'\e€cted.

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 34 of 61

I declare under penalty of perjury that the foregoing is true and correct.

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 35 of 61

DECLARATION OF

I, -, hereby declare and affirm the following:

l.

I am over twenty-one (2]) years of age and otherwise competent to

testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

\
I am a current student at /-}_' &.UJ in ii lou ,

H;L_<x_a:f~, F , .(School, city,state)

3.

program.

4.

I am enrolled in the @lCUUmGt tug t 'Mitaftc<'.,tft/_v~_

. . . §
Upon gi'aduation, I will receive a 4 ,L wqu

 

6.

l expect to complete my program iri W’l()i,ij( D§ 590/2-

To pay for my education, l have utilized Federal student aid programs,

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l haveW)Circle one that applies) received student aid in excess

and fees to offset my living expenses, including:

Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 36 of 61

8. If given the choice, I would choose to complete my degree at

`§:;Em fla College, as opposed to stopping my education and receiving a

discharge of my student loans.

ln addition, l would like a dd the following:

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walton than CH' _VC @cL;g duct-il ij i&ci.l.<_c.it § @/tto»np&sh n%£a

10. No one has promised or offered me anything in exchange for providing

 

 

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 37 of 61

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November f , 2018

 

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 38 of 61

DECLARATION OF

  

I, , hereby declare and affirm the following:

1. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.
2. I am a current student at \Q£G}L‘|A (¢,l\lt&l€in gli{))<i
1345 . (School, city, state)

3. lam enrolled in the /'@ §/'/fC» '7'5 ZD('J\ L'/

program.

4. Upon graduation, l will receive a f’¢,?t/`f/Z--Q: (EJMF¢E“L»"BM
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‘,-

5. I expect to complete my program in 'Ti:»¢/r£?.:

;n¢ol??;'io y /WWLCH ;.5=/‘/’.

6. To pay for my education, l have utilized Federal student aid programs,
including H:W;S/i

7. l have/}\Giot (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 39 of 61

8. If given the choice, I would choose to complete my degree at

if Iil@i ltd i/-\/ College, as opposed to stopping my education and receiving a
discharge of my student loans.

9. In addition, I would like add the following:
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gus w\i\t€\'> i¢><’t'€. “\“\,v\i§ -(“\'ll\i~\€ - @Or :»\\-l J't:u€: r..
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ssi C.t>rc\€'"e' \1\d ”\/\>\f %`\€to entereo'§© ,

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

[`Reminder of page intentionally left blank]

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I declare under penalty of perjury that the foregoing is true and correct

Dated: November f , 2018

 

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 41 of 61

 

 

DECLARATION OF
l,_ hereby declare and affirm the following:
1. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

2. I am a current student at §§ § h 9 m ,'E in gkgg,_i gpo@;l§
QM_g_;/_\,. (School, city, state) 341 Q~‘CQ~§-\ZSBQ_.

3. lam enrolled in the \"i\i;_,_§\\‘ Q c-i`\ '\C\._$‘§» § S`\`Qi_\/\\`T
program
4. Upon graduation, I will receive a Qr\@ ;~l_\, C`_r~_,` l

Q\%Si S-`\v€>mf\_\~ (:\_ ;T€Jl 0 if\/\ O.\
5. I expect to complete my program in 'ISQ@ §¢§ y_’_\§ \

 

940 \ O\
6. To pay for my education, l have utilized Federal student aid programs,

including ci m§§i__ C\€\e,u/w$`€\__ t'\ ix&__r\_&\\.§_Q,LK/v\om
7. I hav.Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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8. If given the choice, l would choose to complete my degree at
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\_la_L/L%M\§ollege, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following:

   

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M`Sl_/\g)_ C)s/\_§ir`\ ` \&\§-'F!“\M .`__\)T_X\`&l\.§d»x n
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10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 43 of 61

l declare under penalty of perjury that the foregoing is true and correct.

Dated: November l , 2018

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Case 5:18-cv-OO388-TES Document 28-1 Filed 11/14/18 Page 44 of 61

 

DECLARATION (_Y`
I,__, hereby declare and affirm the following:
1. l am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.
2. I am a current student at §¢‘i%‘n;lv~iof)d in §Foor“c\.l l ,
E¢L. . (School, city, state)

3. Iamenrolledinthe H\IPFC_,
program.

4. Upon graduation, l will receive a Dij‘)l()mC/`

 

5. I expect to complete my program in mo-fc,l\ 'Z.Ol‘l

 

6. To pay for my education, I have utilized Federal student aid programs,
including pel l \QJr’tll’l‘l'S ,, Sd't,'-Cl€‘{\~l' loan '5

7. .'I'iave not (Circle one that applies) received student aid in excess
of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 45 of 61

8. If given the choice, I would choose to complete my diploma at
B fig niubad Career lnstitute, as opposed to stopping my education and receiving
a discharge of my student loans.

9. ln addition, l would like add the following:
J:r'\. call m\}j geof"$ L{W`Ac,‘ Com{nj ‘i~o BRUPL+IJOOO(
15 ~H’\g be$~l' choice li maolg fn m\]j linda _, j
hewitt \ao»t'»n se much b¢;{\gr}\er”e, , C./\dl I ne\/a(`
M€.~i' Ot. %Qc..-i people O-c __$‘\’ocf"§ -P\'\O.;'c' CQ.(€"$
for %onr aelt,u:,+ion ,Mc/l also gsw -Fu.iwfa.

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 46 of 61

I declare under penalty of perjury that the foregoing is true and correct

Dated: November i , 2018

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 47 of 61

DECLARATIO__F

 

l, hereby declare and affirm the following:

 

l. 1 arn over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein. JI:hd;\_t,_v..|.z,

2. I am a current student at griubiubvri C°~"-'-&l' in B\’OOMG-li ,

g li . (School, city, state)

3. lam enrolled in the H_VAC PFO%§'C\J\/i

program
4. Upon graduation, l will receive a CiiP\OA/l 51

5. l expect to complete my program in Eg h ' ici ¢';l-Olq

6. To pay for my education, l have utilized Federal student aid programs,

including P€_\io~%(` CV\‘\"'> ‘; § i" 63 €/\)i’ \OOJ\
7..11ve not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

 

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8. If given the choice, I would choose to complete my diploma at
M|_@(Scareer Institute, as opposed to stopping my education and receiving
a discharge of my student loans.

9. In addition, I would like add the following:
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gmi now -i/lwci‘ I am comma ralon
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10. No one has promised or offered me anything in exchange for providing

 

 

this statement, I give it neely and voluntarily.

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I declare under penalty of perjury that the foregoing is true and correct
Dated: November l , 2018

 

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l, hereby declare and affirm the following:
l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein

2. l am a current student at M in ;¢~M£_,

Z l _. (School,cily, state)
3. lam enrolled in the gaines ,¢¢,,i, fEL--rl ,,, a',,J A-,¢ (fm,i. ismaili Qj,.' wish

program

4. Upon graduation, l will receive a g 2 al , ,
5. l expect to complete my program in §§ c §§ ék,g_:é?

To pay for my education, l have ulilized Federal student aid programs,

including Z; us rlan

7. l hav c"havc(_,ot/(Circle one that applies) received student aid` m excess

 

 

 

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 51 of 61

8. lf given the choice, l would choose to complete my degree al

§Z/E:-¢M,,m{ College, as opposed to stopping my education and receiving a

discharge of my student loans.
9. ln addition, l would like add the following:
f ,-' ¢/
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10. No one has promised or offered me anything in exchange for providing

this statement, l give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 52 of 61

l declare under penalty of perjury that thc foregoing is true and correct

Dated: November f , 2018

 

 

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I, -, hereby declare and affirm the following:
1. I am over twenty-one (21) years of age and otherwise competent to

testify as to the matters set forth herein. I have personal knowledge of the matters

set forth herein.

w'""“
2. I am a current student at @,LM¢-_g¢]¢m.!aur“ in _é’gél&;_,
£__7‘ A£ [!',,g . (School, city, state)
3, lam enrolled in the §§ §l-Q §,,_.,3 p__\&;_gg¢,{oi‘m ed malmgn@§igmgh-l_;

program.

4. Upon graduation, I will receive a lls§m‘!g.l-¢_ gp-

O `
' `\¢.I l \ _S

5. I expect to complete my program in A|eg‘| lf||él-D|°{

 

6. To pay for my education, I have utilized F ederal student aid programs,

including (i?E-\‘\_C:\rtj\ '-' 3"$ ‘. S’u\ b m 14 ri UHMLL.S{:&£MLLQM§_'

7. I ave not (Circle one that applies) received student aid in excess

 

of tuition and fees to offset my living expenses, including:

_.:.M£Zla_e._ ,__ _______.

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 54 of 61

8. If given the choice, I Would choose to complete my degree at
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,9: BM&§\E. ,_. College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addi ti on, I would like add the following:

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aid_-tlaa&p» mead 1ath mci nat tacoma la
pemb- lo ac Le. G\»_lel Z§Q<aclew_\;¢_Mmer_t;L___

 

 

 

 

 

10. No one has promised or offered me anything in exchange for providing

this statement, I give it freely and voluntarily

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 55 of 61

l declare under penalty of perjury that the foregoing is true and correctl

Dated: November [ , 2018

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 56 of 61

 

, hereby declare and affirm the following:

 

l. I am over twenty-one (21) years of age and otherwise competent to
testify as to the matters set forth herein. l have personal knowledge of the matters

set forth herein.

2. I am a current student at 6 atf ACFW""/FF in CA‘R'|$$¢¢! ,
Anp_.?.;f€e

tI"" . (School, city, state)

3. I am enrolled in the jo Hi` (¢»MP| cyr OP£,¢ATE~/\S r¢N D
F nn.u»c¢»-¢£r?",

 

program.

4. Upon graduation, I will receive a Q££/?¢_

5. I expect to complete my program in fin [w~,f'! 05

6. To pay for my education, I have utilized F ederal student aid programs,

standing J,f, B’Idé //Wc frame

7. I have/,(Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 57 of 61

8. If given the choice, l would choose to complete my degree at

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A‘;'l E'?.`£_¢H at College, as opposed to stopping my education and receiving a

discharge of my student loans.

9. In addition, I would like add the following:

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_.£,Q /a/jé.ic/ ¢=/// M,Q/;z @gw wl gai
L_L_AM ___%g;_ _/l/LJ/,/¢,éa»s

/0/)".

 

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 58 of 61

I declare under penalty of perjury that the foregoing is true and correct.

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Dated: November l ,2018

 

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 59 of 61

DECLARATION OF

I,- hereby declare and affirm the following:

l. I am over twenty-one (21) years of age and otherwise competent to

  

testify as to the matters set forth herein I have personal knowledge of the matters

set forth herein.

2. l am a current student at \[irg,ini¢\€_g[i€q;tin (`I»\o~vi€ §+On ,
601-die Cw>iinqt(School, city, state)

3. lam enrolled in the Mec:li cell `B¢I|inj C-Odinj
program.

4. Upon graduation, I will receive a diploma ir'\

 

Maaa¢a| Q/sa`rm, ama bittg\q
'/i ._J

5. I expect to complete my program in `J'ono¢.\r t_E¢
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6. 'I`o pay for my education, I have utilized Federal student aid programs,
including C.-; ‘I fbi il
7. I®have not (Circle one that applies) received student aid in excess

of tuition and fees to offset my living expenses, including:

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 60 of 61

8. If given the choice, I would choose to complete my degree at

§`5¢3`§ gi g College, as opposed to stopping my education and receiving a

discharge of my student loans.
9. In addition, I would like add the following:

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slate +.».;a+ +tv...» etca,w+$ like family ~r\-\a

Sulllgoti' Lp£. Y’cc.a/\\t€ l'\~€'.r-Q '\‘e Cth‘?-'r\gt'

 

lO. No one has promised or offered me anything in exchange for providing

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Case 5:18-cv-00388-TES Document 28-1 Filed 11/14/18 Page 61 of 61

I declare under penalty of perjury that the foregoing is true and correct.

Dated: November t , 2018

 

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